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                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                  MIAMI DIVISION


                                                  CASE NO.:



 SOLOMON HUMES,

                       Plaintiff,
 v.

 MICHAEL TYRONE CLEMONS, and
 KNIGHT-SWIFT TRANSPORTATION
 HOLDINGS, INC.,

                       Defendants.


                              DEFENDANTS' NOTICE OF REMOVAL

        Defendants, MICHAEL TYRONE CLEMONS (“Clemons”) and KNIGHT-SWIFT

 TRANSPORTATION HOLDINGS, INC. ("Knight") (collectively, “Defendants”), by and through

 undersigned counsel, hereby removes the above-captioned action from the Eleventh Judicial

 Circuit in and for Miami-Dade County, Florida, styled as Solomon Humes, et al. v. Michael Tyrone

 Clemons, et al., Case No. 2021-CA-024823, to the United States District Court for the Southern

 District of Florida, Miami Division, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446. In support

 thereof, Defendants state as follows:

 I.     The State Court Action

        1.          Plaintiff, Solomon Humes, commenced this action against Defendants on

 November 9, 2021 by way of filing Plaintiff's Complaint with Eleventh Judicial Circuit in and for

 Miami-Dade County. A copy of Plaintiff's Complaint is attached as Exhibit 1.
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        2.          Defendant, Knight, was served with Plaintiff's Complaint on or about February

 18, 2022. See Return of Service, attached as Exhibit 2.

        3.          However, Plaintiff has not yet accomplished service upon Defendant, Clemons.

 See Return of Non-Service, attached as Exhibit 3.

        4.          Plaintiff's Complaint consists of two counts. It asserts one claim of direct

 negligence against Clemons and one claim of vicarious liability against Knight based on a motor

 vehicle accident that occurred in Miami-Dade County, Florida on or about September 14, 2020

 ("Subject Incident").

        5.          The Complaint alleges that Plaintiff was and is a resident of Broward County,

 Florida. See Complaint, Exhibit 1, ¶ 2.

        6.          Plaintiff's Complaint incorrectly alleges in his Complaint that Clemons, who

 actually resided in Richmond, Virginia, was and is also a resident of Broward County, Florida. See

 Exhibit 1, ¶ 3.

        7.          The Complaint also alleges that Knight "was and is a foreign corporation and

 maintains a property for the regular transaction of its business in Miami-Dade County, Florida."

 See Exhibit 1, ¶ 4.

        8.          However, the amount in controversy is not ascertainable from the face of the

 Complaint because the Complaint only contends that Plaintiff's damages are in excess of $30,000.

 See Exhibit 1, ¶ 1.
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           9.          On March 7, 2022, Plaintiff counsel sent Defendants' counsel an email

 correspondence indicating that Plaintiff's post-suit demand to resolve his claims is in the amount

 of Knight's policy limits, which far exceeds $75,000.1

           10.         Subsequently, on March 17, 2022, Plaintiff counsel sent correspondence to the

 undersigned indicating an amount of past medical expenses incurred by Plaintiff that also far

 exceeds $75,000.2

     II.         Memorandum of Law in Support of Removal

                 a.    Removal is Timely Pursuant 28 U.S.C. §1446(b).

           11.         A notice of removal typically must be filed within thirty days after receiving

 the initial pleading or service of summons in the state court action. See 28 U.S.C. §1446(b).

           12.         Plaintiffs' Complaint is the initial pleading setting forth the claim for relief upon

 which Plaintiffs' action is based. While the thirty (30) day time period commenced for Knight on

 February 16, 2022 when Plaintiff accomplished service of the Complaint, the thirty day period as

 to Clemons has not yet begun. See Exhibits 2 and 3.

           13.         After service of Plaintiff's Complaint on Knight, Plaintiff's counsel sent email

 correspondence to Defendants' counsel confirming Plaintiff's post-suit demand was the same

 amount as the presuit demand, followed by subsequent correspondence ten days later, on March

 17, 2022, to complete the post-suit demand by confirming the present total medical expenses

 incurred for the treatment of Plaintiff's alleged injuries resulting from the September 14, 2020

 Subject Incident.



 1
   Defendants will provide a copy of the referenced correspondence to the Court upon request for an in camera
 inspection.
 2 Defendants will provide a copy of the referenced correspondence to the Court upon request for an in camera
 inspection.
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        14.         A defendant may remove based on either the plaintiff's initial pleading, “or a copy

 of an amended pleading, motion, order, or other paper.” 28 U.S.C. § 1446(b)(3) (emphasis added).

        15.         As to Plaintiff's March 17, 2022 correspondence concerning Plaintiff's post-suit

 demand (other paper), this Court routinely permits the use of post-suit demand communications

 in determining the amount in controversy. See Aguirre v. Wal-Mart Stores E., LP, 17-61023-CIV,

 2017 WL 3017502, at *2 (S.D. Fla. July 15, 2017); Musser v. Walmart Stores E. L.P., 16-CV-

 62231, 2017 WL 1337477, at *3 (S.D. Fla. Apr. 2, 2017); Nachamkin v. Garden Fresh Rest. Corp.,

 14-CV-80917, 2014 WL 12611360, at *2 (S.D. Fla. Oct. 10, 2014).

        16.         Venue exists in the United States District Court for the Southern District of

 Florida, Miami Division, because the 11th Judicial Circuit Court in and for Miami-Dade County,

 where the instant case will be transferred from, is located in Miami, Florida. Moreover, the Subject

 Incident purportedly occurred in Miami, Florida. See Exhibit 1, ¶¶ 5 – 6.

              b.    Removal is Proper as the Parties Have Complete Diversity of Citizenship.

        17.         The parties in this matter are citizens of different states as set forth in 28 U.S.C.

 §§1332(a)(1) and 1332(c)(1).

        18.         Plaintiff is alleged to be a resident of Broward County, Florida at the time of

 the Subject Incident. See Exhibit 1, ¶ 2. "It is well established that a party's residence is prima

 facie evidence of a party's domicile." Katz v. J.C. Penney Corp., Inc., 09-CV-60067, 2009 WL

 1532129, at *3 (S.D. Fla. June 1, 2009).

        19.         Although Clemons is alleged to be a resident of Broward County, Florida at the

 time of the Subject Incident, Clemons was not then nor has he ever resided or been domiciled
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 within the state of Florida. See Exhibit 1, ¶ 3. Rather, at the time of Incident, Clemons resided in

 Richmond, Virginia.3

         20.           Further, Knight was, and remains, incorporated under the laws of the State of

 Delaware. See Exhibit 1, ¶ 3; Fourth Amended & Restated Certification of Incorporation, attached

 hereto as Exhibit 4. See also Arizona Office of the Corporation Commission, 2021 Foreign For-

 Profit Annual Report, attached hereto as Exhibit 5.

         21.           At no material time has Knight been a citizen of Florida. Further, the Complaint

 does not allege that Knight's activities in Miami-Dade County, Florida are where its "officers

 direct, control, and coordinate the corporation's activities" or "maintain its headquarters" to

 constitute as its principal place of business. See Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010)

 (addressing a corporation's principal place of business for diversity jurisdiction purposes as "its

 nerve center.").

               c.      Defendants met the amount in controversy requirement.

         22.           "[A] defendant's notice of removal need include only a plausible allegation that

 the amount in controversy exceeds the jurisdictional threshold. Evidence establishing the amount is

 required by § 1446(c)(2)(B) only when the plaintiff contests, or the court questions, the defendant's

 allegation." Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014); see also 28

 U.S.C. § 1446(c)(2)(B) (addressing "preponderance of the evidence" standard).

         23.           In the present matter, it is clear from Plaintiff's communicated post-suit demand

 mirroring his presuit demand that Plaintiff's claimed damages and supporting documentation

 exceed the jurisdictional threshold of $75,000. See Aguirre, 2017 WL 3017502, at *2.




 3 An affidavit executed by Clemons establishing his residence and domicile of Richmond, Virginia will be filed under
 separate cover.
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        24.         The Court is also permitted to make “reasonable deductions, reasonable

 inferences, or other reasonable extrapolations” from the pleadings to determine whether it is

 facially apparent that a case is removable and the amount in controversy has been met. Roe v.

 Michelin N. Am., Inc., 613 F.3d 1058, 1061–62 (11th Cir. 2010) (quoting Pretka v. Kolter City

 Plaza II, Inc., 608 F.3d 744, 754 (11th Cir. 2010)).

        25.         Accordingly, Defendants plausibly meet the amount in controversy

 requirement.

 III. Reservation of Rights and Objections

        26.         This Notice of Removal does not waive any objections Defendants may have

 regarding defects in process or service of process, jurisdiction, venue or any other defense.

        27.         Defendants expressly reserve the right to state additional grounds for removal

 and to provide such additional evidence as may be required to support the grounds asserted within

 this Notice of Removal.

        28.         If questions arise as to the propriety of the removal of this action, Defendants

 respectfully request the opportunity to file a brief or further evidence, and to make an oral argument

 in support of removal.

 IV.          Conclusion

        29.         The amount in controversy in this action exceeds $75,000.00, exclusive of

 interest and costs, and complete diversity exists because Plaintiff is a citizen of Florida and

 Defendant Knight is an Arizona company, as detailed above.

        30.         Defendants therefore respectfully request that this action proceed in this Court

 as a properly removed action pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.
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 Dated: April 14, 2022


                                                   Respectfully submitted,



                                                   /s/ R. Daniel Knuth
                                                   RYAN D. SCHOEB, ESQ.
                                                   Florida Bar No. 109257
                                                   R. DANIEL KNUTH, ESQ.
                                                   Florida Bar No. 1003030
                                                   WOOD, SMITH,
                                                   HENNING & BERMAN LLP
                                                   1501 S. Church Avenue, Suite 200
                                                   Tampa, Florida 33629
                                                   Tel.: 813-422-6925
                                                   Fax.: 813-425-6983
                                                   rschoeb@wshblaw.com
                                                   dknuth@wshblaw.com
                                                   lswilson@wshblaw.com
                                                   Counsel for Knight-Swift Transportation
                                                   Holdings, Inc.



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this April 14, 2022, a copy of the foregoing was served via

 the Florida e-Portal filing system which will send notice to all counsel of record.



                                                   /s/ R. Daniel Knuth
                                                   R. DANIEL KNUTH, ESQ.
